                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND



 J. DOE 4, et al.,

        Plaintiffs,
                                                     Case No. 8:25-cv-00462-TDC
   v.

 ELON MUSK, et al.,

        Defendants.



                                     [PROPOSED] ORDER
         Upon consideration of Plaintiffs’ Motion for Expedited Discovery, and the parties’

respective submissions in support thereof and in opposition thereto, it is hereby

         ORDERED that Plaintiffs’ Motion is DENIED.

SO ORDERED.



Dated: ____________________                  ________________________________________________
                                             HON. THEODORE D. CHUANG
At: Greenbelt, MD                            UNITED STATES DISTRICT JUDGE
